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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1106V
                                      Filed: May 24, 2019
                                        UNPUBLISHED


    ELLEN STOLER,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Attorneys’ Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

      On August 16, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccine received on October 1,
2015. Petition at 1. On January 24, 2019, the undersigned issued a decision awarding
compensation to petitioner based on the parties’ stipulation. ECF No. 35.

      On April 25, 2019, petitioner filed a motion for attorneys’ fees and costs. ECF
No. 40. Petitioner requests attorneys’ fees in the amount of $24,263.85 and attorneys’

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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costs in the amount of $2,013.86. Id. at 1-2. In compliance with General Order #9,
petitioner filed a signed statement indicating that petitioner incurred no out-of-pocket
expenses. Id. at 2. Thus, the total amount requested is $26,277.71.

        On May 9, 2019, respondent filed a response to petitioner’s motion. ECF No. 42.
Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13 contemplates
any role for respondent in the resolution of a request by a petitioner for an award of
attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this case.”
Id. at 2. Respondent “respectfully recommends that the Chief Special Master exercise
her discretion and determine a reasonable award for attorneys’ fees and costs.” Id. at
3.

       Petitioner has filed no reply.

      The undersigned has reviewed the billing records submitted with petitioner’s
request and finds a reduction in the amount of fees to be awarded appropriate for the
reason listed below.

       I.       Legal Standard

         The Vaccine Act permits an award of reasonable attorneys’ fees and costs. §
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of
Health & Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in
their fee requests hours that are “excessive, redundant, or otherwise unnecessary.”
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting
Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s
discretion to reduce the hours to a number that, in [her] experience and judgment, [is]
reasonable for the work done.” Id. at 1522. Furthermore, the special master may
reduce a fee request sua sponte, apart from objections raised by respondent and
without providing a petitioner notice and opportunity to respond. See Sabella v. Sec’y of
Health & Human Servs., 86 Fed. Cl. 201, 209 (2009). A special master need not
engage in a line-by-line analysis of petitioner’s fee application when reducing fees.
Broekelschen v. Sec’y of Health & Human Servs., 102 Fed. Cl. 719, 729 (2011).

        The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24
Cl. Ct. at 482, 484 (1991). She “should present adequate proof [of the attorneys’ fees
and costs sought] at the time of the submission.” Id. at 484 n.1. Petitioner’s counsel
“should make a good faith effort to exclude from a fee request hours that are excessive,
redundant, or otherwise unnecessary, just as a lawyer in private practice ethically is
obligated to exclude such hours from his fee submission.” Hensley, 461 U.S., at 434.

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          II.        Attorneys’ Fees

                     A. Administrative Time

       Upon review of the billing records submitted, it appears that a number of entries
are for tasks considered clerical or administrative. In the Vaccine Program, secretarial
work “should be considered as normal overhead office costs included within the
attorneys’ fee rates.” Rochester v. U.S., 18 Cl. Ct. 379, 387 (1989); Dingle v. Sec’y of
Health & Human Servs., No. 08-579V, 2014 WL 630473, at *4 (Fed. Cl. Spec. Mstr.
Jan. 24, 2014). “[B]illing for clerical and other secretarial work is not permitted in the
Vaccine Program.” Mostovoy, 2016 WL 720969, at *5 (citing Rochester, 18 Cl. Ct. at
387). A total of 7.2 hours was billed by attorneys and paralegals on tasks considered
administrative including, organizing documents to be summarized, researching travel
options, and mailing documents. Examples of these entries include:

                 •   January 13, 201 7(3.2 hrs) “review records received to date; organize recs
                     into chron order, prep records for summary and electronic filing (exhibits
                     1-10)”
                 •   March 3, 2017 (0.20 hrs) “pre new records/Exhibit 12 for summarization
                     and electronic filing”
                 •   August 10, 2017 (0.50 hrs) “research/organize details of client visit; search
                     for hotel/rental car, etc”
                 •   August 16, 2017 (0.20 hrs) “addendum to Exhibit 15 for summarization
                     and electronic filing”
                 •   December 21, 2018 (0.20 hrs) “prep overnight shipment to DOJ with cover
                     letter and signed stipulation, copies of docs saved to case file”

ECF No. 40 at 7-8, 12-13, and 19. 3

     The undersigned reduces the request for attorneys’ fees by $1,003.80, 4 the total
amount of the tasks considered administrative.

          III.       Attorneys’ Costs

        Petitioner requests reimbursement for attorney costs in the amount of $2,013.86.
After reviewing petitioner’s invoices, the undersigned finds no cause to reduce
petitioner’s’ request and awards the full amount of attorneys’ costs sought.




3   These are merely examples and not an exhaustive list.

4This amount consists of ($138 x 4.4 hrs = $662.40) + ($142 x 0.20 hrs = $28.40) + ($145 x 1.10 hrs =
$159.50) + ($307 x 0.50 hrs = $153.50) = $1,003.80.
                                                     3
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        IV.     Conclusion

     Based on the reasonableness of petitioner’s request, the undersigned GRANTS
IN PART petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $25,273.91 5 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Ronald Craig Homer.

        The clerk of the court shall enter judgment in accordance herewith. 6

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




5 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
6 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      4
